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                    UNITED STATES DISTRICT COURT
                IN THE EASTERN DISTRICT OF MICHIGAN
                         SOUTHERN DIVISION

CHARLES BLACKWELL,

                                                  Case No. 21-cv-12284
            Plaintiff,
      vs.                                         Hon. Mark A. Goldsmith

CITY OF HAMTRAMCK
and JAMES PETER ALLEN, SR.
in his individual capacity,

            Defendant.
__________________________________________________________________
ERNST CHARARA & LOVELL, PLC         COLLINS EINHORN FARRELL, PC
Kevin Ernst (P44223)                Theresa M. Asoklis (P42709)
Hannah R. Fielstra (P82101)        Lindsey A. Peck (P74579)
Counsel for Plaintiff              Counsel for Defendant Allen
645 Griswold, Suite 4100            4000 Town Center, 9th Floor
Detroit, Michigan 48226            Southfield, MI 48075
(313) 965-5555                      (248) 355-4141
kevin@ecllawfirm.com               theresa.asoklis@ceflawyers.com
hannah@ecllawfirm.com              lindsey.peck@ceflawyers.com

Tony D. Paris (P71525)              SCHENK & BRUETSCH, PLC
Counsel for Plaintiff              Marc A. Deldin (P71041)
4605 Cass Avenue, Second Floor     211 W. Fort, Suite 1410
Detroit, Michigan 48201            Detroit, MI 48226
313-993-4505/Fax: 313-887-8470     (313) 774-1000
tparis@sugarlaw.org                 marc.deldin@sbdetroit.com
_________________________________________________________________/


   FIRST AMENDED COMPLAINT AND DEMAND FOR JURY TRIAL

      Plaintiff, through counsel, states as follows in support of his First Amended

Complaint against Defendants pursuant to Fed. R. Civ. P. 15(a)(1)(B):
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                          VENUE AND JURISDICTION

   1. Plaintiff was at all times relevant hereto, a citizen of the United States and

      State of Michigan residing in the Eastern District of Michigan.

   2. The cause of action arose in the City of Farmington Hills, Michigan, in the

      Eastern District of Michigan.

   3. Defendant JAMES PETER ALLEN, SR. (“Allen”) was at all times relevant

      hereto the attorney for the City of Hamtramck acting under color of state law

      and is being sued in his individual capacity. Defendant Allen resides within

      the Eastern District of Michigan.

   4. The federal claims brought herein are cognizable under the United States

      Constitution and 42 U.S.C. §1983. Accordingly, jurisdiction is conferred by

      28 USC § 1331 as this matter involves a federal question.

                           FACTUAL ALLEGATIONS

   5. Plaintiff incorporates by reference the preceding paragraphs as though fully

      set forth herein.

   6. Plaintiff Charles Blackwell is 28-year-old resident and activist located in the

      Eastern District of Michigan who advocates for transparency in government

      and holding Metro Detroit municipalities accountable by engaging with local

      municipalities on social media, attending city council meetings, and filing

      Freedom of Information Act (“FOIA”) requests with various public bodies.

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   7. In March of 2021, after the Inkster Parks and Recreation director was accused

      of embezzling funds for his own personal use, Mr. Blackwell commented on

      a post by the City of Inkster’s police chief urging him to be transparent about

      the mayor’s involvement in the embezzlement scandal, seeking to bring

      attention to the allegations and lack of transparency within the Inkster

      government.

   8. The comment was deleted and Mr. Blackwell was blocked from the Inkster

      Police Department’s Facebook page.

   9. Mr. Blackwell also commented on the mayor of Inkster’s municipal Facebook

      page, including critical comments about his investigation and involvement in

      the Parks and Recreation director’s embezzlement allegations and exposing

      that the mayor owed delinquent property taxes to the City of Inkster while

      serving as mayor.

   10.After Mr. Blackwell posted these critical comments, he was blocked from

      further commenting on the mayor’s municipal Facebook page.

   11.Mr. Blackwell successfully obtained a preliminary injunction in pro per in his

      pending First Amendment lawsuit against the City of Inkster, which ordered

      that Mr. Blackwell’s ability to access municipal Facebook pages could not be

      blocked, (Case No. 21-cv-10628), after which the ACLU appeared on his

      behalf.

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   12.Defendant’s law firm, the Allen Brothers, PLLC, acts as the city attorney for

      both the City of Inkster and the City of Hamtramck.

   13.Defendant Allen holds himself out as the Hamtramck City Attorney.

   14. Mr. Blackwell has attended city council meetings for both Hamtramck and

      Inkster, including one recent city council meeting for the City of Inkster, in

      which Defendant Allen was present in his capacity as city attorney. City

      council meetings are open to the general public and Defendant often attends

      city council meetings for the City of Hamtramck as well.

   15. Recently, Mr. Blackwell filed several FOIA requests seeking various sources

      of information involving the Allen Brothers, PLLC and its contract with the

      City of Hamtramck, as well as FOIA requests regarding members of the

      Hamtramck City Council.

   16. Mr. Blackwell’s previous FOIA requests were granted or denied by the

      Hamtramck City Clerk.

   17. On August 16, 2021, Defendant Allen personally denied the FOIA request

      which sought some of his communications, adding “[i]n short, there are ample

      grounds to DENY your request on its face,” while attaching five text

      messages.

   18. Defendant Allen signed the FOIA denial letter as “Hamtramck City

      Attorney.”

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   19. On August 18, 2021 at 4:19 PM, Mr. Blackwell sent a parody “meme” he

      created as a criticization of Allen and Jones to the Hamtramck mayor, city

      manager and several Hamtramck City Council Members. He included

      Defendant Allen, and members of his law firm, Harry Kalogerakos, and David

      Jones in the meme.

   20.The email was sent from an anonymous email account which used the name

      Susana Hamad.

   21.The “meme” depicted the faces of Defendant Allen and his partner, David

      Jones, attached to a woman’s body, holding a briefcase outside of the Frank

      Murphy Hall of Justice (see below).




   22.The “meme” was clearly labeled “POLTICIAL PARODY AND SATIRE.”

   23.Plaintiff’s parody did not contain any unprotected categories of speech such

      as true threats, fighting words, inciting violence or any other unprotected

      categories of speech or expression.

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   24.Relevant to the instant lawsuit, Plaintiff was shot in the back several years ago

      while an innocent bystander in a random drive by shooting while visiting a

      family member which rendered his lower extremities totally paralyzed and

      confined him to a wheelchair.

   25.Despite the meme being sent by an anonymous email account, Defendant

      Allen apparently suspected the email was sent by Mr. Blackwell, likely given

      Mr. Blackwell’s criticisms and their recent interactions at the Inkster City

      Council meeting and through Mr. Blackwell’s FOIA requests.

   26.On August 18, 2021, at 6:37 PM, three days after denying Mr. Blackwell’s

      most recent FOIA request and in his capacity as Hamtramck City Attorney,

      Defendant Allen responded to the meme email implicitly criticizing his

      actions as a city attorney from his “JamesAllen@allenbrotherspllc.com”

      email address, which he uses for all business on behalf of the City of

      Hamtramck. He gave several indications that he knew the email was from

      Charles Blackwell:

         a. Defendant Allen began the email “That’s funny, Kev….I mean Chuck

             Who can’t ****”;

         b. Defendant Allen further mocked Mr. Blackwell’s disabilities, stating,

             “Time for me to stand up and talk a walk. I love to walk. And run.




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            And do things that others can’t. God doth have a great sense of humor

            and, in your case, a keen sense of justice.”

         c. He further stated, “I won’t be thinking of you later tonight when I do

            that thing that you can’t.” And added, “I want you to know that you are

            where you are because you so clearly and richly deserve to be there.”

            (Exhibit 1 – Allen Emails re: Picture of James P. Allen and David

            Jones).

   27.On August 19, 2021, Defendant Allen again responded to Mr. Blackwell by

      mocking his disability, stating “Haha Reek. Sit down and stay down where

      that bullet justly put you, punk. Back to your regularly scheduled sit down.”

   28.In this same email, Defendant Allen further mocked Mr. Blackwel’s

      disability, boasting, “This washed up grey haired mother fucker will be closer

      to Wilt [Chamberlain] than you. Not because size matters but because God

      recognized evil and sentenced you to sit while people like me run free and

      spread our DNA into the universe like you can’t.”

   29.Defendant Allen's email response to Mr. Blackwell also called him “limp

      Chuckie,” “Chuckie,” and “Chuck who can’t ****.” Chuckie and Chuck are

      common nicknames for Charles, in reference to Plaintiff’s first name.

   30. Defendant Allen’s email also mocks Plaintiff’s disability by referring to

      Plaintiff as “Wheelboy,” and by stating “thanks to you, I got money to buy us

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      both a pair of gators, not that yours will ever see the pavement,” in an apparent

      reference that Mr. Blackwell’s oversight activities meant more billing from

      Defendant’s law firm to Hamtramck.

   31.Defendant Allen, in his capacity as a city attorney, also expressly boasted that

      the more Mr. Blackwell engaged with him and his partner, David Jones, the

      more money he would make, presumably because of their contracts with the

      City of Hamtramck and the City of Inkster, indicting he was billing the City

      of Hamtramck for engaging with the Plaintiff:

            The more you play, moreover, the better for me. And you teaming up
            with your crusading friends? That’s music to my ears. […] We love
            people like you. My children thank you, in fact, for the college money.
            […] From the bottom of my satisfied self’s contended heart, thank you
            for the many hours you keep my colleagues occupied. The Allen-Jones
            Family educational scholarship fund thanks you as well. (Exhibit 1).

   32.Defendant Allen further added, “May your dreams be half as good as the

      reality you and your malcontented piece of horse dung cohorts provide for me

      and Potna Jones.”

   33.In fact, the City of Hamtramck approved payment on the invoices specifically

      for the emails sent by Defendant Allen to Mr. Blackwell.

   34.On August 19th, 2021, Defendant Allen sent another email to Mr. Blackwell

      stating, “Saw you seated today and yesterday and will see you seated for as

      long as the Good Lord sentenced you. […] But you surely deserved that bullet



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      God sent to put you where you are when you read this and where you will

      ALWAYS be, haha [...]”

   35. Mr. Blackwell recently attended an Inkster City Council meeting at which

      Defendant was also present.

   36.Defendant Allen continued to make discriminatory comments about

      Plaintiff’s disability stating, “Please please please send these emails to people

      and say I should be cancelled for dogging a pathetic little wheelboy like you

      out. I dare you. I beg you, cowardly punk.” (Exhibit 1).

   37.Defendant's responses, using “Chuck,” “Chuckie,” and highlighting that

      Plaintiff had been shot and could not walk confirms that he suspected the

      identity behind the Susana Hamad email account to be Mr. Blackwell.

   38.After receiving the barrage of emails sent mocking Plaintiff’s disability, sent

      by an attorney licensed in the State of Michigan acting as the City Attorney

      for Hamtramck, Mr. Blackwell emailed the Michigan Attorney Discipline

      Board Executive and Deputy Director from the Susana Hamad email account

      on August 24, 2021, asking that they investigate Defendant Allen’s conduct.

      (Exhibit 2, Plaintiff’s email to Michigan Attorney Discipline Board).

   39.Mr. Blackwell sent that email to Defendant Allen.

   40.The same day, on August 24th, 2021, Defendant Allen, in his capacity as

      Hamtramck City Attorney and using the power of his office, responded to the

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       email and threatened to subpoena Mr. Blackwell’s ISP to “verify what we

       already know”, and threatened to depose Plaintiff, stating, “You’ll be going

       under oath either way after your ISP answers my subpoena.” (Exhibit 3,

       Email from Defendant Allen re: Attorney Discipline Board).

    41.Plaintiff   has   personal   pictures,   videos,   emails,    documents     and

       communications with family, friends, and health care professionals contained

       in his email account and cloud storage which Defendant could have obtained

       via the threatened subpoena and the threat chilled Plaintiff from further

       continuing with his parody and anonymous speech from this email account.

    42.Based on Defendant Allen’s conduct wherein he retaliated against Plaintiff by

       mocking his disability, taunting him with comments about what Defendant is

       able to do and what Plaintiff cannot, asserting that he deserved the bullet that

       paralyzed Plaintiff, and threatening to subpoena Plaintiff’s ISP and depose

       him, Mr. Blackwell was deterred from further engaging in activity protected

       by the Constitution, including but not limited to: attending city council

       meetings where Defendant Allen would be present (either in person or via

       Zoom), requesting documents via FOIA of which Defendant Allen or the City

       of Hamtramck is the subject, and engaging in anonymous political satire and

       free speech.




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    43.Plaintiff Charles Blackwell was humiliated and embarrassed as a result of the

       retaliation and disturbing level of mockery engaged in by Defendant Allen’s

       comments in his capacity as a city attorney.

     COUNT I – 14th AMENDMENT EQUAL PROTECTION VIOLATION

    44.At all material times, Plaintiff had a federal constitutional right secured by the

       14th Amendment to be free from discrimination and retaliation as a result of

       his disability.

    45.Plaintiff was intentionally treated differently than those similarly situated in

       every other material aspect without a disability.

    46.Nevertheless, Defendant Allen, acting under color of law in his capacity as a

       city attorney for the City of Hamtramck discriminated against Plaintiff on the

       basis of his disability.

    47.Defendant’s actions had the effect of depriving Plaintiff of his rights secured

       by the Equal Protection Clause of the 14th Amendment.

    48.Defendant’s acts were intentional, malicious, willful, wanton, obdurate and in

       gross and reckless disregard of Plaintiff’s constitutional rights.

    49.There was no rational basis for Defendant Allen to discriminate against

       Plaintiff based on his disability or for the difference in treatment between

       Plaintiff and others similarly situated without disabilities.




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    50.As a result of Defendant’s actions, Plaintiff is deterred from further engaging

       in activity protected by the Constitution, including but not limited to:

       attending city council meetings in the Cities of Inkster and Hamtramck,

       requesting documents via FOIA of which Defendant Allen or the Cities of

       Inkster or Hamtramck is the subject, and engaging in anonymous political

       satire and free speech.

   COUNT II – VIOLATION OF TITLE II OF THE AMERICANS WITH
             DISABILITIES ACT (42 U.S.C. §12131, et seq.)
                     As to the City of Hamtramck

    51.Title II of the Americans with Disabilities Act (“ADA”), 42 U.S.C. §12132

       prohibits a public entity from excluding a person with a disability from

       participating in, or otherwise benefitting from, a program of the public entity,

       or otherwise discriminating against a person on the basis of disability.

    52.Plaintiff meets the definition of a person with a disability within the meaning

       of Title II of the Americans with Disabilities Act.

    53.A public entity includes state and local governments, their agencies, and their

       instrumentalities.

    54.Defendant Allen is an agent of the City of Hamtramck, as he is the City

       Attorney for the City of Hamtramck and engages in decision making on the

       City’s behalf, as evidenced by Defendant’s denial of Plaintiff’s FOIA request

       directed to the City of Hamtramck.

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    55.As a result of Defendant Allen’s actions, Plaintiff is being denied the benefits

       of other non-disabled citizens and being subjected to discrimination because

       of his disability.

    56.Defendant City of Hamtramck, through its agent Defendant Allen, acted

       intentionally, willfully and in reckless disregard of Plaintiff’s rights.

    57.As a result of Defendants’ actions, Plaintiff has been deterred/constructively

       barred from further engaging in activity protected by the Constitution and

       Title II, including but not limited to: attending city council meetings where

       Defendant Allen would be present, requesting documents via FOIA of which

       Defendant Allen or the City of Hamtramck is the subject, and engaging in

       anonymous political satire and free speech.

               COUNT III – FIRST AMENDMENT RETALIATION

    58.At all material times, Plaintiff was engaged in constitutionally protected

       activity, exercising his clearly established First Amendment rights to request

       public information, to anonymously propound parodic criticism of Defendant

       Allen who is the City Attorney for the City of Hamtramck and whose firm

       acts as the city attorney for City of Inkster and to petition the government for

       redress through the courts and quasi-judicial agencies such as the Attorney

       Grievance Commission and or Attorney Discipline Board.




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    59.Defendant retaliated against Plaintiff Blackwell for exercising his protected

       constitutional right of free speech and expression and his right to petition the

       government for redress.

    60.Defendant retaliated against Plaintiff’s for exercising his First Amendment

       rights in violation of clearly established law.

    61.Defendant does not have immunity for violating Plaintiff’s rights.

    62. Plaintiff's First Amendment right, including the right to criticize public

       officials such as Defendant was clear “[s]ince the day the ink dried on the Bill

       of Rights.” McCurdy v Montgomery County, 240 F.3d 512, 520 (6th Cir.

       2001).

    63.Defendant’s adverse action injured Plaintiff by restraining, preventing,

       deterring and impairing his right to anonymous speech in a way that would

       chill the Plaintiff and a person of ordinary firmness from propounding further

       lawful speech and satire towards the Defendant, and in a way that would chill

       a person of ordinary firmness from petitioning the government for redress.

    64.Further, Defendant used the power of his office to threaten adverse actions to

       unveil Plaintiff’s identity by subpoenaing Plaintiff’s ISP and deposing him in

       violation of clearly established law, preventing him from speaking and

       proceeding anonymously.




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    65.As with other forms of expression, the ability to speak anonymously […]

       allows individuals to express themselves freely without “fear of economic or

       official retaliation…[or] concern about social ostracism.” Anonymous Online

       Speakers v United States Dist Court (In re Anonymous Online Speakers), 661

       F3d 1168, 1173 (CA 9, 2011) (citing McIntyre v Ohio Elections Comm, 514

       US 334 (1995)).

    66.Defendant Allen was motivated to take this adverse action in whole or part

       because of Plaintiff’s constitutionally First Amendment rights, including

       Plaintiff’s engagement in local politics, including his several FOIA requests

       directed to Defendant Allen and the Allen Brothers, PLLC, billing practices

       with Hamtramck, Plaintiff’s attendance at City Council meetings, Plaintiff’s

       petitioning the government for redress and his disability.

    67.“Even the threat of an adverse action can satisfy [the adverse action] element

       if the threat is capable of deterring a person of ordinary firmness from

       engaging in the protected conduct.” Hill v Lappin, 630 F.3d 468, 472 (6th Cir.

       2010).

    68. Defendant’s threats to subpoena Plaintiff’s ISP and depose Plaintiff

       constitute a threat of adverse action for First Amendment purposes.




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    69.As a direct and proximate result of Defendant’s actions as described above,

       Plaintiff has suffered damages including humiliation, embarrassment and

       those further described below.

                                        DAMAGES

    70.As a direct and proximate result of Defendant unlawful activity, Plaintiff has

       suffered and continues to suffer damages for which the Defendant is liable

       including but not limited to humiliation, mortification embarrassment and the

       loss of his rights to engage his government like any other citizen.

    71.As a result of the Defendants' reprehensible, wanton, oppressive

       unconstitutional and unlawful actions and/or omissions, Plaintiff is entitled to

       recover punitive damages.

    72.Plaintiff is also entitled to recover reasonable costs and attorney's fees under

       42 USC § 1988.


       WHEREFORE, Plaintiff respectfully requests that the Court enter judgment

    for damages against Defendant in whatever amount a jury shall determine is

    reasonable, fair and just, plus interest, costs and attorney’s fees.

                                      JURY DEMAND

    Plaintiff hereby demands trial by jury on all issues allowed by law.


                                         Respectfully submitted,


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                                    ERNST CHARARA & LOVELL, PLC

                                    /s/ Hannah R. Fielstra
                                        Hannah R. Fielstra (P82101)
                                        Kevin Ernst (P4422)
                                        hannah@ecllawfirm.com
                                        kevin@ecllawfirm.com




 Dated: December 2, 2021




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